Case 2:05-cr-20201-.]DB Document 18 Filed 06/08/05 Page 1 of 2 Page|D 24

 

 

 

IN THE UNITED sTATEs DISTRICT CoURT """;'""‘~"5‘3 ~ -- » 1111
FOR THE WESTERN DISTRICT OF TENNESSEE l ,
WESTERN DIvIsIoN 55 JU“ "3 PH le 01
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C,`i_i:a~ii'§, {..F.S. DJ'ST. Cl`.
UNITED STATES OF AMERICA W U- C°`=T" 15 f‘~'- F"J""EMFH?S
v.
JOHN FORD 05cr20201-B
ORDER ON ARRAIGNMENT
This cause came to be heard on 00 the United States Attorney
for this district appeared on behalf of the g eminent, and the defendant appeared in person and with
counsel:

 

NAME 222 , 55;' EM who is Retained!Appointed.
'_____

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

Ue defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984 is remanded to the custody
of the U.S. Marshal. t

 

 

UNITED STATES MAGISTRATE ]UDGE

CHARGES: interfere With Cornmerce by threat or violence - 18:1951
Attorney assigned to Case: T. DiScenza

Age: 9 5

Thls document entered on the docket hth in compliance '!
with Hule 55 and/or 32{b) FHCrP on § /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20201 Was distributed by faX, mail, or direct printing on
.lune 9, 2005 to the parties listedl

 

 

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

l\/leniphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/leniphis7 TN 38103

Michael Edwin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

l\/leniphis7 TN 38103--238

Honorable .l. Breen
US DISTRICT COURT

